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                                     UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW JERSEY


          MARK A. APOSTOLOU,

                             Plaintiff,                      Case No. _________________

          vs.
                                                          COMPLAINT FOR VIOLATIONS
          REDLINE RECOVERY SERVICES,                       OF THE FEDERAL FAIR DEBT
          LLC, a Georgia Limited Liability                COLLECTION PRACTICES ACT
          Company,

                             Defendant.



          Plaintiff, Mark A. Apostolou, by way of Complaint against the Defendant, says:

                                                 I. PARTIES

                  1.         MARK A. APOSTOLOU (“APOSTOLOU”) is a natural person who,

          at all times relevant to this complaint, resided in, and is a citizen of, the Township

          of Livingston, Essex County, New Jersey.

                  2.         At all times relevant to this complaint, REDLINE RECOVERY

          SERVICES, LLC (“REDLINE”) is a Georgia for-profit Limited Liability

          Company, which is registered as a foreign business entity in the State of New
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          Jersey, and whose principal place of business is located at 1465 Sanctuary

          Parkway, Suite 350, Alpharetta, Georgia.

                                  II. JURISDICTION & VENUE

                3.    Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28

          U.S.C. § 1331.

                4.    Venue is appropriate in this federal district pursuant to 28 U.S.C. §

          1391(b) because a substantial part of the events giving rise to Plaintiffs’ claims

          occurred within this federal judicial district, and because REDLINE resides in the

          State of New Jersey within the meaning of 28 U.S.C. § 1391(b) and (c).

                                III. PRELIMINARY STATEMENT

                5.    APOSTOLOU brings this action for the illegal practices of REDLINE

          who used false, deceptive and misleading practices, and other illegal practices, in

          connection with their attempts to collect alleged debts from APOSTOLOU.

          APOSTOLOU alleges that the REDLINE’s conduct violated, inter alia, the Fair

          Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”).

                6.    The FDCPA regulates the behavior of collection agencies attempting

          to collect a debt on behalf of another. The United States Congress has found

          abundant evidence of the use of abusive, deceptive, and unfair debt collection

          practices by many debt collectors, and has determined that abusive debt collection

          practices contribute to a number of personal bankruptcies, marital instability, loss

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          of jobs, and invasions of individual privacy. Congress enacted the FDCPA to

          eliminate abusive debt collection practices by debt collectors, to ensure that those

          debt collectors who refrain from using abusive debt collection practices are not

          competitively disadvantaged, and to promote uniform State action to protect

          consumers against debt collection abuses. 15 U.S.C. § 1692(a) - (e).

                7.    The FDCPA is a strict liability statute, which provides for actual or

          statutory damages upon the showing of one violation. The Third Circuit has held

          that whether a debt collector’s conduct violates the FDCPA should be judged from

          the standpoint of the “least sophisticated consumer.” Graziano v. Harrison, 950

          F.2d 107, 111, fn5 (3d Cir. 1991).

                8.    To prohibit harassment and abuses by debt collectors the FDCPA, at

          15 U.S.C. § 1692d, provides that a debt collector may not engage in any conduct

          the natural consequence of which is to harass, oppress, or abuse any person in

          connection with the collection of a debt and names a non-exhaustive list of certain

          per se violations of harassing and abusive collection conduct. 15 U.S.C. §

          1692d(1)-(6). Among the per se violations is the placement of telephone calls

          without meaningful disclosure of the caller’s identity, 15 U.S.C. § 1692d(6).

                9.    To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e,

          outlaws the use of false, deceptive, and misleading collection letters and names a

          non-exhaustive list of certain per se violations of false and deceptive collection

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          conduct. 15 U.S.C. § 1692e(1)-(16). Among these per se violations are: the failure

          by debt collectors to disclose in initial oral communications that the debt collector

          is attempting to collect a debt and that any information obtained will be used for

          that purpose, and the failure to disclose in subsequent oral communications with

          consumers that the communication is from a debt collector, 15 U.S.C. § 1692e(11).

                10.     APOSTOLOU seeks statutory damages, attorney fees, costs, and all

          other relief, equitable or legal in nature, as deemed appropriate by this Court,

          pursuant to the FDCPA and all other common law or statutory regimes.

                             IV. FACTS REGARDING APOSTOLOU

                11.     Sometime prior to March 5, 2008, APOSTOLOU allegedly incurred a

          financial obligation to Capital One (“Capital One Obligation”).

                12.     The Capital One Obligation arises out of a transaction in which the

          money, property, insurance, or services which are the subject of the transaction are

          primarily for personal, family, or household purposes.

                13.     Defendants contend that APOSTOLOU defaulted on the Capital One

          Obligation.

                14.     The Capital One Obligation is a “debt” as defined by 15 U.S.C.

          §1692a(5).

                15.     APOSTOLOU is, at all times relevant to this complaint, a “consumer”

          as that term is defined by 15 U.S.C. § 1692a(3).

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                16.    APOSTOLOU is informed and believes, and on that basis alleges, that

          sometime prior to March 5, 2008, the creditor of the Obligation either directly or

          through intermediate transactions assigned, placed, transferred, or sold the debt to

          REDLINE for collection.

                17.    REDLINE collects, and attempts to collect, debts incurred, or alleged

          to have been incurred, for personal, family, or household purposes on behalf of

          creditors using the U.S. Mail, telephone, and Internet.

                18.    REDLINE is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                19.    Within the one year immediately preceding the filing of this

          complaint, REDLINE contacted APOSTOLOU via telephone in an attempt to

          collect the Obligation.

                20.    Within the one year immediately preceding the filing of this

          complaint, Apostolou received at least one “live” telephonic voice messages

          (“Messages”) on his cellular voicemail system.

                21.    By way of example, on May 20, 2008, APOSTOLOU received a

          Message, the recording of which is embedded in the electronic filing of this

          complaint and can be heard by clicking here, and which is transcribed as follows:

                       This message is for Mark, last name is A-P-O-S-T-O-L-
                       O-U. This is Ms. Blunt, I need you to give me a call. The
                       phone number to reach me is 1-866-489-3840; extension
                       is 4085. I will be at the office today until, 4:30 p.m.
                       Central Standard Time.

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                    22.    Each of the Messages is a “communication” as defined by 15 U.S.C. §

          1692a(2).

                    23.    Each of the Messages was left by persons employed by REDLINE.

                    24.    Each of the Messages failed to identify REDLINE by its name as the

          caller.

                    25.    Each of the Messages failed to disclose that the communication was

          from a debt collector.

                    26.    Each of the Messages uniformly failed to disclose the purpose or

          nature of the communication (i.e., an attempt to collect a debt).

                    27.    Each of the Messages is false, deceptive, and misleading in that the

          natural consequence of these communications is to harass, oppress, or abuse the

          least sophisticated consumer and other persons in violation of the FDCPA.

                                      . FIRST CAUSE OF ACTION

                    28.    APOSTOLOU realleges and incorporates by reference the allegations

          in the preceding paragraphs of this Complaint.

                    29.    REDLINE violated the FDCPA. REDLINE’s violations include, but

          are not limited to, the following:

                          (a)    Placing   telephone   calls   without   providing   meaningful

                                 disclosure of REDLINE’s identity as the caller in violation of

                                 15 U.S.C. § 1692d(6); and

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                      (b)    Failing to disclose in the Messages that REDLINE is a debt

                             collector in violation of 15 U.S.C. § 1692e(11).

                                    VI. PRAYER FOR RELIEF

                30.    WHEREFORE, APOSTOLOU respectfully requests that the Court

          enter judgment in his favor as follows:

                A.     An award of the maximum statutory damages pursuant to 15 U.S.C.

                       §1692k(a)(2)(A); and

                B.     Attorney’s fees, litigation expenses, and costs pursuant to 15 U.S.C.

                       §1692k(a)(3); and

                C.     For such other and further relief as may be just and proper.

                                                    WACKS & HARTMANN, LLC

          Dated: May 19, 2009                              /s/ Philip D. Stern
                                                          PHILIP D. STERN
                                               Attorneys for Plaintiff, Mark A. Apostolou




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